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 5
     Attorney for Derick Stampley
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          ) No. 2:10-cr-00035-MCE
                                        )
10           Plaintiff,                 )
                                        )
11      v.                              ) STIPULATION AND CORRECTED
                                        ) ORDER CONTINUING SENTENCING
12   DERRICK STAMPLEY                   ) (April 12, 2012
                                        ) before Judge England)
13   et al                              )
                                        )
14                                      )
             Defendants,                )
15   ___________________________________)
16
17         The parties and the Probation Officer assigned to this case
18   agree that more time is needed to address sentencing problems in
19   this matter. Part of the problem is due to the effect of conviction
20   of the Defendant for a crime committed after the crime charged in
21   case.   This other crime resulted in a conviction before the present
22   indictment.   It is believed that the indictment was delayed due to
23   the Government’s desire to protect its informant. The question to
24   be resolved is whether this State conviction is a “prior convic-
25   tion” within the Sentencing guidelines.
26   ///
27   ///
28                                        1
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 1       For these reasons, the parties stipulate the presently set
 2   sentencing date of February 23, 2012 be continued to April 12, 2012
     and request the Court so order.
 3
     Respectfully submitted,
 4
     Dated February 14, 2012
 5
 6
         /s/ JASON HITT                           /s/ J TONEY
 7         Jason Hitt                                 J Toney
     Assistant U S Attorney                   Attorney for Derrick Stampley
 8
 9
10
11
12                                      ORDER
13
          Good cause appearing, IT IS HEREBY ORDERED that Defendant’s
14
     Judgment and Sentencing be continued to April 12, 2012 at 9:00 AM.
15
16   Dated: February 16, 2012

17
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18                                      MORRISON C. ENGLAND, JR.
19                                      UNITED STATES DISTRICT JUDGE

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